                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION




  In the Matter of:                              }
                                                 }
                                                 }
  Aqua Marine Enterprises, Inc.                  }   Case No. 18-80464-CRJ-11
                                                 }
                                                 }   Chapter 11
                                                 }
                                  Debtor(s)      }
                                                 }
                                                 }

 ORDER ON MOTION FOR EXPEDITED HEARING ON RENEWED MOTION FOR RELIEF
                        FROM AUTOMATIC STAY

 This matter is before the Court on the following:

 Motion by Debtor for Expedited Hearing on Renewed Motion for Relief from Automatic Stay

 The Court, having considered the pleading, it is therefore ORDERED, ADJUDGED and
 DECREED that:

 The Motion by Debtor for Expedited Hearing is hereby GRANTED. HEARING ON the
 Renewed Motion for Relief from Automatic Stay will be held on March 28, 2018, at 11:30 a.m.
 at Federal Building, 101 Holmes Ave., Huntsville, AL 35801.

 Dated this the 16th day of March, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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